             Case 18-12378-mdc                    Doc        Filed 02/05/20 Entered 02/05/20 10:34:37                              Desc Main
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 Fill in this information to identify the case:
 Debtor 1    Diane C. Simmons

 Debtor 2

 (Spouse, if filing)

 United States Bankruptcy Court for the EASTERN District of PENNSYLVANIA

 Case number 18-12378-mdc

Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                   12/15
If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor’s
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor: WILMINGTON SAVINGS FUND SOCIETY,                                Court claim no. (if known): 7-1
FSB, D/B/A CHRISTIANA TRUST, NOT INDIVIDUALLY BUT AS
TRUSTEE FOR HILLDALE TRUST
Last 4 digits of any number you use to                                            Date of payment change: 3/1/2020
identify the debtor’s account: 3103                                               Must be at least 21 days after date
                                                                                  of this notice

                                                                                  New total payment: $663.42
                                                                                  Principal, interest, and escrow, if any

 Part 1:       Escrow Account Payment Adjustment

 1.      Will there be a change in the debtor’s escrow account payment?

         □ No.
         ■ Yes.         Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                        the basis for the change. If a statement is not attached, explain why:
                        ________________________________________________________________________________________________________
                        ____________________________________

         Current escrow payment: $179.05                             New escrow payment: $180.80


 Part 2:       Mortgage Payment Adjustment

 2.      Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
          variable-rate account?

         ■ No
         □ Yes.        Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
                         explain why:
                         _______________________________________________________________________________________________________
                         __________________________________________________________________________________

         Current interest rate:                                    New interest rate:

         Current principal and interest payment:           New principal and interest payment:


 Part 3:       Other Payment Change

 3.      Will there be a change in the debtor's mortgage payment for a reason not listed above?

         ■ No
         □ Yes         Attach a copy of any document describing the basis for the change, such as a repayment plan or loan modification agreement.
                       (Court approval may be required before the payment change can take effect.)

                       Reason for change: ________________________________________________________________________________

         Current mortgage payment                           New mortgage payment:




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Debtor 1 Diane C. Simmons                                            Case number (if known) 18-12378-mdc
           Print Name        Middle Name   Last Name




 Part 4:      Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

 Check the appropriate box.
      □ I am the creditor
      ■ I am the creditor’s authorized agent.

 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
 information, and reasonable belief.

     /s/ _Sindi Mncina___                         Date _1/30/2020___
     Signature



  Print             _Sindi Mncina_______________                                                      Title   Authorized Agent for Creditor
                    First Name                    Middle Name       Last Name


  Company           RAS Crane, LLC


  Address           10700 Abbott's Bridge Road, Suite 170
                    Number       Street


                    Duluth GA 30097
                    City                                                 State       ZIP Code

  Contact Phone     470-321-7112                                                                      Email __smncina@rascrane.com___




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                                           CERTIFICATE OF SERVICE
                                          February 5, 2020
               I HEREBY CERTIFY that on ____________________________________________________________,
I electronically filed the foregoing with the Clerk of Court using the CM/ECF system, and a true and correct copy has
been served via CM/ECF or United States Mail to the following parties:

CHRISTIAN A. DICICCO
Law Offices of Christian A. DiCicco
2008 Chestnut Street
Philadelphia, PA 19103

Diane C. Simmons
1206 S. 21st Street
Philadelphia, PA 19146

WILLIAM C. MILLER, Esq.
Chapter 13 Trustee
P.O. Box 1229
Philadelphia, PA 19105

United States Trustee
Office of the U.S. Trustee
200 Chestnut Street
Suite 502
Philadelphia, PA 19106
                                                                          RAS Crane, LLC
                                                                          Authorized Agent for Secured Creditor
                                                                          10700 Abbott's Bridge Road, Suite 170
                                                                          Duluth, GA 30097
                                                                          Telephone: 470-321-7112
                                                                          Facsimile: 404-393-1425

                                                                          By: /s/ Kimberly Meador
                                                                               _________________________
                                                                              Kimberly Meador
                                                                              Email: kmeador@rascrane.com




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